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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


JOHN CANNICI,                       )
                                    )
           Plaintiff,               )
                                    )
                                    )
     v.                             )
                                    )       No. 16 C 9863
                                    )
VILLAGE OF MELROSE PARK,            )
ILLINOIS, BOARD OF FIRE AND         )
POLICE COMMISSIONERS OF             )
MELROSE PARK, ILLINOIS,             )
MICHAEL CAPUTO, MARK RAUZI          )
and PASQUALE ESPOSITO,              )
Members of the Board of Fire        )
and Police Commissioners of         )
Melrose Park, RICHARD               )
BELTRAME, Melrose Park Fire         )
Chief, and RONALD SERPICO,          )
Mayor of Melrose Park,              )
individually and in their           )
official capacities,                )
                                    )
           Defendants.              )

                      MEMORANDUM OPINION AND ORDER
     Plaintiff John Cannici (“Cannici”) brings this suit

alleging that his employment as a firefighter for the Village of

Melrose Park (“the Village”) was improperly terminated for

violating the Village’s residency ordinance. In addition to the

Village, Cannici has sued the Village’s Board of Fire and Police

Commissioners (“the Board”); individual Board members Michael

Caputo, Mark Rauzi, and Pasquale Esposito (Caputo, Rauzi, and

Esposito together, “the Board Members”); the Village’s Fire
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Chief, Richard Beltrame (“Beltrame”); and the Village’s Mayor,

Ronald Serpico (“Serpico”). Cannici’s complaint seeks review of

his termination under Illinois’ Administrative Review Act (“the

Act”), 735 ILCS 5/3-101 et seq. (Count I). He also asserts

claims under 42 U.S.C. § 1983, alleging violation of his right

to due process (Count II) and to equal protection (Count III).

Cannici originally filed suit in the Circuit Court of Cook

County, Illinois. The defendants removed the case to this court

and now have filed several separate motions to dismiss Counts II

and III of the complaint pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure.1 For the reasons below, I grant

the defendants’ motions and remand the remaining claim for

administrative review to the Circuit Court of Cook County.2

                                        I.

      In deciding a 12(b)(6) motion, I take all allegations in

the complaint as true. See, e.g., Lavalais v. Village of Melrose

Park, 734 F.3d 629, 632 (7th Cir. 2013). Cannici’s complaint

alleges that he joined the Melrose Park Fire Department in 2000.

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  Joint motions to dismiss Counts II and III have been filed by
the Board and Board Members and by the Village and Beltrame.
Serpico has moved to dismiss only Count III, since that is the
only claim asserted against him. For purposes of this motion, it
is unnecessary to distinguish between the various defendants.
For simplicity, therefore, I use “defendants” to refer to them
collectively.
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  Cannici does not oppose remand of Count I if Counts II and III
are dismissed. See Pl.’s Resp. to Board and Commissioners’
Motion to Dismiss, at 2 n.2.
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In 2008, he and his wife purchased a second home in Orland Park.

According to Cannici, they purchased the home so that their

oldest child could attend school in Orland Park, thereby making

it unnecessary for Cannici’s parents, who provided daycare for

the children, to commute between Orland Park and Melrose Park.

Cannici’s wife and children moved to the Orland Park home, but

Cannici continued to live in the Melrose Park residence. The

family spent time together on the weekends.

     This arrangement remained in place until 2013, when Cannici

agreed to rent a portion of the Melrose Park home to a family

experiencing financial hardship. Although the family occupied

only part of the home, Cannici began staying at the Orland Park

house with his wife and children. He insists, however, that he

continued to treat the Melrose Park home as his residence (by,

among other things, continuing to pay taxes on the home, keeping

his personal property there, and receiving his mail there).

     In May 2016, Cannici was “summoned to appear at an

interrogation concerning his residency.” Compl. ¶ 23. On

learning of this, the family living in the Melrose Park home

voluntarily moved out and Cannici moved back in. In June 2016,

Fire Chief Beltrame filed a “Statement of Charges” alleging that

Cannici had violated the Village’s residency ordinance and




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requesting a hearing before the Board of Commissioners.3

According to Cannici, prior to the hearing, the Board’s counsel

engaged in ex parte communications with the prosecuting

attorney. Specifically, Cannici alleges that the Board’s counsel

notified the prosecuting attorney of a status hearing in the

case without giving notice to Cannici’s counsel. In addition,

Cannici asserts that the Board’s Counsel sent the prosecuting

attorney case law addressing issues relevant to Cannici’s case.

When Cannici became aware of the communications, he filed a

motion to disqualify the prosecuting attorney and to reappoint

the Board’s counsel. The motion was summarily denied.

       The hearing on the charges against Cannici was held before

the Board on August 4, 2016. Cannici submitted a brief at the

hearing, arguing that since his residency in the Village had

previously been established, he was not required under Illinois

law to maintain a physical presence in Melrose Park, so long as

he had no intention of abandoning his residency. Cannici also

testified at the hearing, explaining the circumstances

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    The ordinance provides:
       Each and every officer and employee of the village,
       unless exempted by this chapter, must be a resident of
       the village as that term has been defined herein. Each
       and every officer must maintain resident status during
       his or her term of office. Each and every employee
       must maintain resident status during his or her period
       of employment.
Village of Melrose Park Code of Ordinances § 2.52.020.

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surrounding his decision to rent his home, and stating that he

never had any intention of abandoning his Melrose Park

residency. Neither party presented any other evidence at the

hearing.

       On August 24, 2016, the Board issued an order on the

charges against Cannici. After reviewing the evidence in the

case, the order concluded that Cannici had violated the

residency ordinance and that his employment would be terminated.

Cannici maintains that the Board’s decision mischaracterized his

testimony, disregarded the evidence, and misapplied the law. In

addition, he contends that although several other Melrose Park

firefighters had living arrangements similar to his own, only he

was charged with violating the residency ordinance.

                                         II.

       “A motion to dismiss under Rule 12(b)(6) does not test the

merits of a claim; rather, it tests the sufficiency of the

complaint.” Galvin v. Illinois Republican Party, 130 F. Supp. 3d

1187, 1190 (N.D. Ill. 2015) (citing Gibson v. City of Chicago,

910 F.2d 1510, 1520 (7th Cir. 1990)). I consider the defendants’

arguments for dismissal of Cannici’s § 1983 due process and

equal protection claims in turn.

A.     Due Process

       To state a procedural due process claim under § 1983, “a

plaintiff must allege (1) deprivation of a protected interest,

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and (2) insufficient procedural protections surrounding that

deprivation.” Michalowicz v. Vill. of Bedford Park, 528 F.3d

530, 534 (7th Cir. 2008). The defendants do not dispute that

Cannici has a protected interest in his employment. At issue is

only the sufficiency of the procedural protections surrounding

his termination.

     Procedural due process claims are of two types: “(a) claims

based on established state procedures and (b) claims based on

random, unauthorized acts by state employees.” Leavell v.

Illinois Dep’t of Nat. Res., 600 F.3d 798, 804 (7th Cir. 2010)

(quotation marks omitted). Cannici does not allege that his due

process rights were violated by an established state procedure.

Rather, he claims that the defendants failed to implement or

abide by the procedures in a fair manner. Hence, Cannici’s due

process claim is based on the “random and unauthorized actions

of the state officials ... in failing to follow the requirements

of existing law.” Michalowicz, 528 F.3d at 535 (quotation marks

omitted).

     Because random and unauthorized misconduct is “inherently

unpredictable, the state’s obligation under the Due Process

Clause [in such cases] is to provide sufficient remedies after

its occurrence, rather than to prevent it from happening.” Id.

Thus, “for a plaintiff alleging a procedural due process claim

based on random and unauthorized conduct of a state actor, the

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plaintiff must either avail herself of state post-deprivation

remedies or demonstrate that the available remedies are

inadequate.” Leavell, 600 F.3d at 805 (quotation marks omitted).

     Here, Illinois’ Administrative Review Act provides Cannici

with a post-deprivation remedy. Cannici did not previously seek

review under the Act. (Rather, he seeks to do so in the instant

action). Nor has he alleged that review under the Act would be

an inadequate remedial measure. Courts have in fact repeatedly

held that the Administrative Review Act provides a remedy for

the sort of due process violations alleged here. See, e.g.,

Michalowicz, 528 F.3d at 536-37; Leavell, 600 F.3d at 806 (due

process claim failed because adequate review was available in

state court); Stachowski v. Town of Cicero, 425 F.3d 1075, 1078

(7th Cir. 2005) (“Stachowski could have sought administrative

review of the Board’s final decision under the Illinois

Administrative Review Act.... Stachowski’s failure to pursue the

procedures available to him does not give rise to a due process

claim.”).

     Rather than addressing the state’s post-deprivation

remedies, Cannici contests the adequacy of the pre-deprivation

protections afforded him. He argues that based on the alleged ex

parte communications between the Board’s attorney and the

prosecuting attorney, together with what he characterizes as the

Board’s one-sided decision, he was denied a meaningful

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opportunity to be heard. It is firmly established, however, that

“when adequate post-termination protections exist, a

pretermination hearing need only provide an initial check

against mistaken decisions -- essentially, a determination of

whether there are reasonable grounds to believe that the charges

against the employee are true and support the proposed action.”

Michalowicz, 528 F.3d at 536–37 (quotation marks omitted). These

requirements are satisfied here: prior to the termination

hearing, Cannici was notified of the charges against him and he

had an opportunity to file a motion challenging the alleged ex

parte communications between the prosecuting attorney and the

Board’s counsel. At the hearing, moreover, Cannici was

represented by counsel, he had an opportunity to testify, and he

submitted briefing on pertinent legal issues.

       In short, because Cannici has neither availed himself of

post-deprivation remedies nor alleged the inadequacy of those

remedies, he has failed to state a procedural due process claim

under § 1983.

B.     Equal Protection

       Cannici’s equal protection claim is based on the

defendants’ alleged selective enforcement of the Village’s

residency ordinance. He argues that several other members of the

Village’s fire department have not maintained residences in

Melrose Park but, unlike him, were never charged with violating

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the ordinance. Cannici does not allege that he was treated

unequally as a result of his membership in a protected class.

Instead, his equal protection claim is based on a “class-of-one”

theory. To prevail on a class-of-one equal protection claim,

Cannici “must show that [he] was intentionally treated

differently from others similarly situated and that there is no

rational basis for the difference in treatment.” Black Earth

Meat Mkt., LLC v. Vill. of Black Earth, 834 F.3d 841, 851 (7th

Cir. 2016) (quotation marks omitted).

     Cannici’s equal protection claim is foreclosed by the

Supreme Court’s decision in Engquist v. Oregon Department of

Agriculture, 553 U.S. 591 (2008), which expressly held that the

“class-of-one theory of equal protection has no place in the

public employment context.” Id. at 594 (quotation marks

omitted). The Court explained that the class-of-one theory

presupposes the “existence of a clear standard against which

departures, even for a single plaintiff, could be readily

assessed.” Id. at 602. As the Court pointed out, however,

decisions in the employment context “are quite often subjective

and individualized, resting on a wide array of factors that are

difficult to articulate and quantify.” Id. at 604. While the

Constitution forbids the government from treating citizens

differently based on subjective, individualized considerations

when it acts as legislator or regulator, the government is not

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subject to the same constraints when acting as proprietor or

employer. Id. at 604. Without the ability to make these sorts of

distinctions, the Court observed, governmental entities would be

unable to carry about their functions. Id. at 607-08.

       Because Cannici challenges his termination as a public

employee, his class-of-one equal protection claim is precluded

by Engquist. Cannici argues that Engquist’s holding is limited

to employment decisions that are highly individualized and

discretionary in nature. He contends that Engquist does not

apply in his case because the Board’s decision was confined to

the narrow question of whether he had violated the residency

ordinance. But the Seventh Circuit has made clear that “[u]nder

Engquist, the prohibition on class-of-one claims in the public

employment context is categorical.” Geinosky v. City of Chicago,

675 F.3d 743, 747 (7th Cir. 2012).4 Courts have consistently

rejected attempts to carve out exceptions to Engquist’s holding

in the employment context, see, e.g., Burge v. Rogers, No. 13 C



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  Cannici cites the court’s remark in Abcarian v. McDonald, 617
F.3d 931 (7th Cir. 2010), that Engquist “has limited
applicability when a decisionmaker’s discretion is circumscribed
by constitutional or statutory provisions.” Id. at 939. In that
passage, however, the court was referring to Engquist’s
application in settings other than employment. To illustrate its
point, Abcarian cited Hanes v. Zurick, 578 F.3d 491 (7th Cir.
2009), which involved a claim alleging that police officers had
violated the plaintiff’s equal protection rights by selectively
singling him out for arrest.


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6399, 2014 WL 2118739, at *1 (N.D. Ill. May 21, 2014)

(“Plaintiffs argue that Engquist allowed the possibility that

public employees may bring class-of-one equal protection claims

under extraordinary circumstances, but that argument cannot be

reconciled with Geinosky.”), and have specifically rejected such

arguments based on selective enforcement of residency

requirements, see, e.g., Reiff v. Calumet City, No. 10 C 5486,

2014 WL 4460457, at *3 (N.D. Ill. Sept. 10, 2014); Langmead v.

Monroe Cty. Office of Sheriff, No. 11-CV-6003-CJS, 2013 WL

3759958, at *5 (W.D.N.Y. July 15, 2013).

       In sum, Cannici’s class-of-one equal protection claim is

barred by Engquist. Accordingly, Count III of his complaint is

dismissed.5

                                       III.

       For the reasons discussed above, I dismiss Counts II and

III of Cannici’s complaint and remand his remaining claim for

administrative review to the Circuit Court of Cook County.




                                             Elaine E. Bucklo
                                        United States District Judge

Dated: January 27, 2017

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  The Board Members additionally argue that they are entitled to
quasi-judicial immunity. Because I conclude that Cannici’s
claims fail on the merits, I do not reach this issue.
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